                                     Case 1:19-cv-00043-PMW Document 1 Filed 05/09/19 Page 1 of 1
.IS 44 (Rev. 08/18)                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE !NSTRUC'lJONS ON NHXT PAGE OF TH!S FORM.)
I. (a) PLAINTIFFS
                                                                                                               ~%~lfrY; ROBERT KILMER, in his individual capacity,
    IAN NELSON                                                                                                 AUSTIN TURNER.in his individual capacity,and NED MECHAM.in his
                                                                                                               individual capacity
      (b) County of Residence of First Listed Plaintiff               Morgan County                              County of Residence of First Listed Defendant Morgan County
                                    (EXCEPT !N U.S. PlA!NTlFF CASES)                                                                     (!N U.S. P!A!NT!FFCASHS ONf,Y)
                                                                                                                  NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOL YEO.

      ( C) Attorneys (Firm Name, Addres14 and Telephone Number)                                                   Attorneys (f/Known)
    Jason D. Haymore, Pearson outler
    1802 W South Jordan Parkway, Suite 200
    South Jordan, UT 84095 801-495-4104

II. BASIS OF JURISDICTION (Placean                            "X"inOneBoxOnly)                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                       "X" in one Boxfiir Plaint/ff
                                                                                                              (!''or Dil'ersity Cases Only)                                       and One Boxfiir Dtfendant)
0 I      U.S. Government                ~ 3 Federal Question                                                                               PTF     DEF                                            PTF       DEF
            Plaintiff                              (U.S. Gol'ernment Not a Party)                       Citizen of This State              ~ I     ~ I       Incorporated or Principal Place       0 4      0 4
                                                                                                                                                               of Business Jn This State

0 2 U.S. Government                        0 4   Diversity                                              Citizen of Another State         0 2        0    2   Incorporated and Principal Place      0 5      0 5
       Defendant                                  (Indicate Citizenship ()fl'artie.1· inf/em !fl)                                                               of Business In Another State

                                                                                                        Citizen or Subject of a          0 3        0    3   Foreign Nation                        0 6       0 6
                                                                                                           Forei ~n Counh
IV NATURE OF SUIT (Place an                        "X" in one Box Only)                                                                             Click here for· Nature of Suit Code Descriptions"
I            CON?lt:&l'J'                             -. '       'FORTS'                                 .. 11 "' 11 EITl1Rll!ll>JliNALTY               .HANKRUP'l'CY                  1lTrn •RS'l'ATUTES           I

0 110 Insurance                             PERSONAL INJURY                PERSONAL INJURY              0 625 Drug Related Seizure             0 422 Appeal 28 USC 158           0 375 False Claims Act
0 120 Marine                           0    310 Airplane                 0 365 Personal lnju1y -              of Prope1iy 21 USC 881           0 423 Withdrawal                  0 376 Qui Tam (31 USC
0 130 Miller Act                       0    315 Airplane Product                Product Liability       0 690 Other                                  28 USC 157                        3729(a))
0 140 Negotiable Instrument                     Liability                0 367 Health Care/                                                                                      0 400 State Reapportionment
0 150 Recove1y of Overpayment          0    320 Assault, Libel &               Pharmaceutical                                                           I
                                                                                                                                                               ,,., ...   ·~
                                                                                                                                                                                 0 41 OAntin·ust
      & En l'orccment of .Judgment              Slander                        Personal lnjmy                                                  0 820 Copyrights                  0 430 Banks and Banking
0 151 Medicare Act                     0    330 Federal Employers'             Product Liability                                               0 830 Patent                      O 450 Commerce                 1·:
0 152 Recove1y of Defaulted                     Liability                0 368 Asbestos Personal                                               0 835 Patent - Abbreviated        0 460 Deportation
      Student Loans                    0    340 Marine                          Injury Product                                                       New Drug Application        0 470 Racketeer Influenced and
          (Excludes Veterans)          0 345 Marine Product                     Linbility                                                      0 840 Trademark                          Corrupt Organiz;ulions
CJ 153 Recovery of'Overpayment                   Liability                PERSONAL PROPERTY                          T.Am   111                  NCH   AT         "'             0 480 Consumer Credit
       of Veteran's Benefits           0 350 Motor Vehicle               0 370 Other Frnud              0 710 Fair Labor Standards             0 861 HIA(l395fl)                 0 485 Telephone Consumer
0 160 Stockholders' Suits              0 355 Motor Vehicle               0 371 T111th in Lending               Act                             0 862 Black Lung (923)                  Protection Act
0 190 Other Contract                            Product Liability        0 380 Other Personal           0 720 Labor/Management                 0 863 DIWC/DIWW (405(g))          0 490 Cable/Sat TV
0 195 Conn·act Product Liability       0 360 Other Personal                    Property Damage                 Relations                       0 864 SSID Title XVI              0 850 Securities/Commodities/
0 196 Franchise                                 lnJlllY                  0 385 Property Damage          0 740 Railway Labor Act                0 865 RSI (405(g))                      Exchange
                                       0 362 Personal Jnjmy -                  Product Liability        0 751 Family and Medical                                                 0 890 Other Statut01y Actions
                                                Medical Malpractice                                            Leave Act                                                         0 891 Agriculturnl Acts
I         REAL PROP.ERTY               .. > ..ClY11L RlGH'.J:S            .PRIS· 1N'ER P.ETlTI ''NS     0 790 Other Labor Litigation             FEDERAL TAX SUITS               0 893 Environmental Matters
 0    210 Land Condemnation            0 440 Other Civil Rights             Habeas Corpus:              0 791 Employee ·Retirement             0 870 Taxes (U.S. Plaintiff       0 895 Freedom of Information
 0    220 Foreclosure                  0 441 Voting                      0 463 Alien Detainee                 Income Security Act                    or Defendant)                     Act
 0    230 Rent Lease & Ejectment       ~ 442 Employment                  0 510 Motions to Vacate                                               0 871 IRS-Third Party             O 896 Arbitrntion
 0    240 To1is to Land                0 443 Housing/                           Sentence                                                             26 USC 7609                 0 899 Administrative Procedure
 0    245 Tort Product Liability                Accommodations           0 530 General                                                                                                 Act/Review or Appeal of
 0    290 All Other Real Property      0 445 Amer. w/Disabilities -      0 535 Death Penalty                   JMMIGM'.liIUN                                                           Agency Decision
                                                Employment                  Other:                       0 462 Naturalization Application                                        O 950 Constitutionality of
                                       0 446 Amer. w/Disabilities -      0 540 Mandamus & Other          0 465 Other Immigration                                                       State Statutes
                                                Other                    0 550 Civil Rights                    Actions
                                       0 448 Education                   0 555 Prison Condition
                                                                         0 51i0 Civil Detainee -
                                                                                Conditions of
                                                                                 Confinement

V, ORIGIN             (!'lace an "X"inOneBoxOn/;1
2( I Original               D 2 Removed fro111                D 3       Re111anded from             D 4 Reinstated or       D 5 Transferred from             D 6 Multidistrict             D 8 Multidistrict
          Proceeding            State Court                             Appellate Court                 Reopened                Another District                 L1t1gat1on -                  Litigation -
                                                                                                                                   (1pec(fy)                     Transfer                     Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not c/tejurl.wlict/01111/ statutes unless diversitv):
VI. CAUSEOFACTION~4-2-u_._s._c_._
                               19 8 3
                                  --~~~~~~~~~~~~~~~~~~~·~~~~~~~~~~~
                                             Brief description of cause:
                                              Deprivation of Constitutional Rights
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                     DEMAND$                                       CJ-JECK YES only if de111anded in co111plaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                         JURY DEMAND:            )/!(Yes     ONo
VIII. RELATED CASE(S)
                       (,~ee instruc•tions):
      IF ANY                                 JUDGE                                                                                                DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECOR[

FOR OFFICE USE ONLY                                                                                                               Case: 1: 19-cv-00043
      RECEIPT II                    AMOUNT                                       APPLYING IFP                                     Assigned To : Warner Paul M
                                                                                                                                  Assign. Date: 5/9/2019       ·
                                                                                                                                  Description: Nelson v. Morgan County
                                                                                                                                  et al
